3201 University Drive, Suite 250
Auburn Hills, Michigan 48326-2394

Kus, Ryan, Schluentz & Brawn, PLLC

 

 

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SOUTHERN DIVISIO A 1H
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UNITED STATES OF AMERICA, .

OD -708,40
Plaintiff, Criminal Case No, 03-30810

VS. Hon. Gerald E. Rosen

D-1 AHMAD MUSA JEBRIL,
D-2 MUSA ABDULLAH JEBRIL,

Defendants.

CLAIM OF INTEREST IN REAL PROPERTY AND
PETITION FOR HEARING

NOW COMES Wells Fargo Home Mortgage, {/k/a Norwest Mortgage, Inc., by and through
its attorneys, Kus, Ryan, Schluentz & Brown, PLLC, and for its Claim of Interest in Real Property and
Petition for Hearing, states as follows:

1. The Preliminary Order of Forfeiture and Notice of Preliminary Order of Forfeiture
identifies real property commonly known as 4637 Palmer, Dearbom, Wayne County, Michigan, and
further described as; Lots 44 and 45, and % the adjacent vacated alley, of Cloverdale Park
Subdivision, as recorded in Liber 34, page 87 of Plats, Wayne County Records ("4637 Palmer"), as
residential real property to which the Preliminary Order of Forfeiture relates pursuant to 18 U.S.C. §
Y82(A)(2)(a).

2. Wells Fargo Home Mortgage as successor in interest to Norwest Mortgage, Inc. holds
a first and perfected mortgage lien on 4637 Palmer pursuant to real estate morigage dated on
November 21, 1988 and recorded in the Wayne County Real Property Records ("Real Estate
Mortgage").

3, _As of the date of this pleading, there is a balance due under the Promissory Note and
Real Estate Mortgage in the amount of $34,167.33. Musa A. Jebril and Subheih Jebril are the

Borrowers pursuant to the Promissory Note which is dated November 21, 1988.

 

 

 

 

 
    

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4. Pursuant to the Real Estate Mortgage, Petitioner Welle Fargo Home Mortgage, holds
an interest in 4637 Palmer, which is o lien on any interest held by Defendants in this proceeding and as
such, is superior to that granted by this Court's Preliminary Order of Forfeiture.

5, At the tims that Petitioner Wells Fargo Home Mortgage, acquired its interest in 4637
Palmer, it was without knowledge and bad no cause ‘to believe that the property was subject to
forfeiture or was derived from proceeds directly or indirectly resulting from the violations for which
Defendants are charged. Petitioner Wells Pargo Home Mortgage, is ontitled to defense of the
forfeiture action as an Innocent Owner,

6. Pursuant to the FRCP. at Rule 32.2.C and 21 U.S.C. § 853(N), Petitioner Wells
Fargo Home Mortgage, requests this Court schedule a hearing to determine the validity of the claim of
Wells Fargo Home Mortgage in 4637 Palmer and iis claim as an Innecent Owner relative to that
propetty.

7. The representations and statement of facts contained in this Petition are true and this

Petition is executed pursuant to 21 U.8.C. § 853(N) under penalty of pexjury-

 

 

 

Subsoribed and sworn to before ms
this {047 day of March 2005.

Advaida N.Nulter,

Notary
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AMANDA NM Kus, Ryan, S¢hlu B . PLLC
7 Nurnber 731060 / Hy

Oonter 18, a7 Michael J. Ryan (P34783)

Attomey for Petitioner Welle Fargo Home Mortgage
3201 University Dr., Ste. 250

Auburn Hills, MI 48326-2394

(248) 364-309)

 

 

 

 

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

 

UNITED STATES OF AMERICA,

Plaintiff, Criminal Case No, 03-80810
vB. Hon. Gerald E. Rosen

D-1 AHMAD MUSA JEBRIL,
D-2 MUSA ABDULLAH JEBRIL,

Defendants.

 

PROOF OF SERVICE

The undersigned certifies that a copy of Claim of Interest in Real Property and Petition for
Hearing, along with Proof of Service, was served upon:

Julie A. Beck
Assistant U.S. Attorney
211 W. Fort Street, Ste. 2001
Detroit, MI 48226

by mailing same to her at the address shown above, with postage fully prepaid thereon for first class
muil, on the 11" day of March 2005. | declare under the penalty of perjury that the statement above is
iruc to the best of my knowledge, information, and belief.

3201 University Drive, Suite 250
Auaurn Hills, Michigen 48326-2394
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Carol D. Meldrum

Kus, Ryan, Schluentz & Brown, PLLC

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